                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN
                                    MILWAUKEE DIVISION


 WILLIAM FEEHAN,

                  Plaintiff,

        v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
                                                                                 Case No.: 20CV1771
 L. THOMSEN, MARGE BOSTELMANN,
 JULIE M. GLANCEY, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                   Defendants.


                         DEFENDANT GOVERNOR EVERS’S REPLY
                     TO PLAINTIFF’S PROPOSED BRIEFING SCHEDULE


        On Thursday, December 3, 2020, Plaintiff William Feehan filed an Amended Motion for

Temporary Restraining Order and Preliminary Injunction To Be Considered in an Expedited

Manner (Dkt. 10), which included a Proposed Briefing Schedule (Dkt. 10-1). Several hours later,

counsel met and conferred about the proposed schedule but were unable to reach agreement.

Subsequent to that meet-and-confer session, one individual and one entity have moved to intervene

in this matter.

        In the absence of an agreed schedule among the parties, Defendant Tony Evers proposes

the following expedited schedule:

Monday, Dec. 7 at 5:00 p.m.              Defendants/Intervenors oppositions to TRO motion1



        1
          Governor Evers’s brief will address not only the merits of Plaintiff’s motion, but also threshold
questions of justiciability.


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Tuesday, Dec. 8 at 5:00 p.m.            Plaintiff replies to opposition briefs

At the Court’s discretion               Court holds an evidentiary hearing and legal argument
                                        (if deemed necessary)

This proposed schedule will significantly expedite resolution of Plaintiff’s claims, though Plaintiff

has no one to blame but himself for the time-crunch that he cites as justification for imposing

impossible deadlines. 2 This proposed schedule also seeks to balance the resources to be devoted

to this case with those necessary for litigating the parallel case filed in this Court by President

Trump3 and any state-court proceedings challenging the results of Wisconsin’s election ongoing 4

or that may arise.

        Should the Court wish to hear more on this topic, counsel for Governor Evers will gladly

make themselves available at the Court’s convenience for a scheduling conference.

        Respectfully submitted this 4th day of December 2020.

                                                  /s/ Jeffrey A. Mandell
                                                  Jeffrey A. Mandell
                                                  Rachel E. Snyder
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                                                  Attorneys for Defendant, Governor Tony Evers

        2
          Plaintiff asserts that his motion needs to be adjudicated before the electors meet. (Dkt. 18 at *2)
Since that meeting is not until December 14, see 3 U.S.C. § 7 and Wis. Stat. § 7.75, the Governor’s proposed
schedule satisfies that measure.
        3
          Trump v. Wis. Elections Comm’n, et al., Case No. 2:2020-CV-1785 (E.D. Wis., filed December
2, 2020). Plaintiff in that case has also filed an emergency motion for preliminary injunctive relief. Judge
Ludwig is convening a telephonic scheduling conference at 1:00 p.m. on Friday, December 4, 2020, to set
deadlines in that matter.
        4
          Wis. Voters Alliance v. Wis. Elections Comm’n, et al., Case No. 2020AP1930-OA (Wis.) (petition
for original jurisdiction in the Wisconsin Supreme Court pending).



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